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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ELBIO NUNES, THEODORE SPIES,                Case No. 1:22-cv-02953-SDG
and MARQUE HART, individually and
on behalf of those similarly situated,      Hon. Judge Steven D. Grimberg

              Plaintiffs,

       v.

LASERSHIP, INC.,

              Defendant.


         DEFENDANT LASERSHIP, INC.’S MOTION FOR LEAVE
          TO FILE NOTICE OF SUPPLEMENTAL AUTHORITY

      Defendant, LaserShip, Inc., respectfully moves the Court for leave to file a

Notice of Supplemental Authority related to the pending Motion to Stay and Compel

Arbitration or, in the Alternative, to Strike Collective Allegations. ECF No. 14. The

Notice of Supplemental Authority respectfully alerts the Court to one recent decision

issued after briefing closed on LaserShip’s motion: Medeiros v. Point Pickup

Technologies, Inc., No. 3:21-CV-1056 (OAW), 2023 WL 3022324 (D. Conn. Apr.

20, 2023).
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